                                                                                 Case 4:19-cv-04905-HSG Document 12 Filed 08/30/19 Page 1 of 1




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                                                                          7                                   IN THE UNITED STATES DISTRICT COURT
                                                                          8                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                         SAN FRANCISCO DIVISION
                                                                         10
United States District Court




                                                                              Gilbert Castillo, Jr.,                                   No. 19-cv-04905-RS
                                                                         11
                               For the Northern District of California




                                                                                                Plaintiffs,
                                                                         12        v.                                                  RECUSAL ORDER
                                                                         13
                                                                              J.P. Morgan Chase Bank, N.A.
                                                                         14                 Defendants.
                                                                              ____________________________________/
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                                                                                        I hereby recuse myself from hearing or determining any matters which have been referred to
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                                                                              me as District Judge in the above-entitled action. The Clerk of Court shall reassign the referred
                                                                         18
                                                                              matters in this case to another District Judge.
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                                                                         21   IT IS SO ORDERED.
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                                                                         23   Dated: August 30, 2019
                                                                         24                                                     RICHARD SEEBORG
                                                                                                                                UNITED STATES DISTRICT JUDGE
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